1:07-cv-01298-MMM # 711-1   Filed: 05/23/16    Page 1 of 33
                                                                      E-FILED
                                              Monday, 23 May, 2016 03:51:04 PM
                                                  Clerk, U.S. District Court, ILCD
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 2 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 3 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 4 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 5 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 6 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 7 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 8 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 9 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 10 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 11 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 12 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 13 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 14 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 15 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 16 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 17 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 18 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 19 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 20 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 21 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 22 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 23 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 24 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 25 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 26 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 27 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 28 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 29 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 30 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 31 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 32 of 33
1:07-cv-01298-MMM # 711-1   Filed: 05/23/16   Page 33 of 33
